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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division
ANDREW A. AQUILA,
Plaintiff,

Vv. Civil Action No. 1:22-cv-1421

SREIT BROAD VISTA TERRACE LLC,

Defendant.

MEMORANDUM OPINION

THIS MATTER comes before the Court on Plaintiff's Motion for
Partial Summary Judgment and Defendant’s Motion for Summary
Judgment.

Plaintiff Andrew A. Aquila was a tenant at the Acadia
Apartments complex, which is owned by Defendant SREIT Broad Vista
Terrace LLC. Plaintiff's most recent lease term was from July 19,
2021 to January 18, 2023. Throughout this lease term, Plaintiff
failed to pay rent himself, but he did receive rental assistance
from the Virginia Rent Relief Program (VRRP). Through the VRRP,
which was administered by the Virginia Department of Housing and
Community Development (DHCD), a tenant may apply for rent arrears
back to April 1, 2020 and up to three months of payments into the
future. The total payments from VRRP could not exceed fifteen
months of rent assistance per household. The application required

both the tenant and landlord to supply certain information to DHCD
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before DHCD could approve the application for VRRP assistance. On
three separate occasions, Plaintiff applied for rent relief,
Defendant supplied the necessary information to DHCD, and DHCD
approved the application for VRRP. Defendant received money from
the VRRP on behalf of Plaintiff in April 2021, November 2021, and
May 2022.

On the same day the last payment was made by VRRP, May 11,
2022, Plaintiff filed a new tenant VRRP application. Defendant
contends that it never received notice from DHCD about this VRRP
application, and it never appeared in Defendant's online VRRP
Landlord Portal. After Defendant received the May 2022 VRRP
payment, Plaintiff had a remaining balance of $3,418.17 owed to
Defendant. Following the May 2022 payment, Defendant did not
receive any further rent payment from Plaintiff or on behalf of
Plaintiff.

On July 7, 2022, Defendant issued a Notice to Pay Rent or
Quit, which reflected that Plaintiff owed $8,029.97 to Defendant
in rent and related charges. On October 4, 2022, based on that
Notice to Pay Rent or Quit, Defendant filed an unlawful detainer
action in Loudoun County General District Court. The unlawful
detainer action was later nonsuited by Defendant due to its failure

to serve Plaintiff with the Tenants Rights and Responsibilities

notice.
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On October 12, 2022, Kathleen Grey, an employee of Defendant,
contacted VRRP about Plaintiff's application. Ms. Grey asserts
that she was told that nothing was required from Defendant because
Plaintiff needed to provide additional information to complete his
portion of the application. After Defendant informed Plaintiff of
this communication, Plaintiff resubmitted his VRRP application on
October 14, 2022. However, as of that date, VRRP had exhausted all
of its funding.

Plaintiff claims that before a hearing on the first unlawful
detainer action on December 9, 2022, he overheard counsel and an
employee of Defendant use racial slurs to describe Plaintiff.
Plaintiff filed a discrimination complaint against Defendant with
the U.S. Department of Housing and Urban Development, Office of
Fair Housing and Equal Opportunity (FHEO) on December 19, 2022.

Defendant served Plaintiff with a Notice of Nonrenewal of
Tenancy and Termination of Lease on January 20, 2023. After
properly serving Plaintiff with the Tenants Rights and
Responsibilities notice, Defendant refiled its unlawful detainer
action on February 8, 2023 with the Loudoun County General District
Court. On March 1, 2023, the Loudoun County General District Court
granted Defendant possession of the unit against Plaintiff. on
March 6, 2023, Plaintiff removed the unlawful detainer proceeding
to this Court. On April 21, 2023, the Court remanded the case back

to the Loudoun County General District Court for lack of subject

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matter jurisdiction. Plaintiff was evicted from the unit on May
25, 2023. On September 12, 2023, the Loudoun County General
District Court awarded Defendant a judgment of $31,797.63, plus
$74.00 in costs, $7,949.00 in attorneys’ fees, and interest.
Plaintiff removed the proceeding to this Court shortly after the
judgment was issued, but it was again remanded due to lack of
subject matter jurisdiction. Plaintiff did not appeal the
judgment.

In the instant case, Plaintiff filed the Complaint against
Defendant and others on December 13, 2022. Plaintiff then filed
the Amended Complaint on February 21, 2023. Following Defendant’s
Motion to Dismiss, the Court dismissed all other defendants and
narrowed the claims to just those for intentional discrimination
in violation of 42 U.S.C. § 1981, retaliation in violation of 42
U.S.C. § 1981, intentional discrimination in violation of 42 U.S.C.
§ 3604(b), and breach of contract. Through these remaining claims,
Plaintiff alleges that Defendant discriminated against him due to
his race and color, retaliated against him for complaining about
Defendant to FHEO, and breached the lease agreement.

Under Federal Rule of Civil Procedure 56, a court should grant
summary judgment if the pleadings and evidence show that there is
no genuine dispute as to any material fact and that the moving
party is entitled to judgment as a matter of law. Fed. R. Civ. P.

56; see Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). In

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reviewing a motion for summary judgment, the court views the facts

in the light most favorable to the non-moving party. See Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986). Once a motion

for summary judgment is properly made, the opposing party has the
burden to show that a genuine dispute of material fact exists. See

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,

586-87 (1986). This Court finds this case is ripe for summary
judgment.

Central to the intentional discrimination and breach of
contract claims is the lack of information provided by Defendant
to DHCD in support of Plaintiff's May 11, 2022 VRRP application
for rental relief (“May 2022 VRRP application”). Plaintiff argues
that because Defendant failed to provide any information, he was
not approved for another round of VRRP assistance, which resulted
in Plaintiff failing to pay rent after May 11, 2022. In support,
Plaintiff provides documentation that shows he submitted his VRRP
application on May 11, 2022, the tenant application was accepted
by DHCD on June 17, 2022, and he resubmitted the application on
October 14, 2022. The form states that the next step was to have
the landlord complete their portion of the application.

Defendant claims that DHCD never requested Defendant provide
the materials. To support this assertion, Defendant furnishes a
declaration from Paul Ahls, the corporate designee and record

keeper of Defendant. That declaration states that documentation
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and information was previously requested from Defendant by DHCD
for Plaintiff's three prior VRRP applications through Defendant's
VRRP Landlord Portal, but Defendant never received notice of the
May 2022 VRRP application from DHCD, and the request for
documentation and information never appeared in Defendant’s VRRP
Landlord Portal.

Defendant also supported this assertion by providing two
emails. The first was sent by Plaintiff to Ms. Grey, dated August
27, 2022, that indicated a different employee of Defendant searched
Defendant’s VRRP Landlord Portal for any indication or notice of
Plaintiff's May 2022 VRRP application, and the employee was not
able to find anything in the portal concerning the application.
The second was from Ms. Grey to Plaintiff, dated October 12, 2022,
stating that she had spoken with a VRRP representative, and the
representative confirmed there was nothing Defendant needed to
complete at that time regarding Plaintiff’s VRRP application.
Instead, Plaintiff resubmitted his VRRP application on October 14,
2022.

When a plaintiff is unable to produce any evidence supporting
its allegations, there is no issue of material fact with respect

to those allegations. See Bond Distrib. Co. v. Carling Brewing

Co., 325 F.2d 158, 159 (4th Cir. 1963). Here, Defendant has
produced ample evidence to indicate that it never received a

request from VRRP to provide documentation and information to
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Support Plaintiff's May 2022 VRRP application. On the other hand,
Plaintiff has not put forth any evidence to support his allegations
that Defendant did receive the request to provide information and
chose not to comply with the request. The form stating that the
next step of the VRRP application process was to have the landlord
complete their portion of the application is not sufficient to
show that Defendant ever received notice or a request for
information from DHCD. Therefore, there is no issue of material
fact with respect to Defendant never having received a request
from DHCD to provide information supporting the May 2022 VRRP
application.

To prevail on a discrimination claim under § 1981, the
plaintiff bears the burden of showing that race and color were

but-for causes of his injury. Comcast Corp. v. Nat’l Ass’n of Afr.

Am.-Owned Media, 140 S. Ct. 1009, 1014-15 (2020). It is not

sufficient to only show that race and color played some role in

the defendant's decision-making process. Jones v. Lowe's

Companies, Inc., 845 F. App’x 205, 215 (4th Cir. 2021) (quoting

Comcast, 140 S. Ct. at 1013). In support of his claim, Plaintiff
has provided a declaration describing racial slurs he overheard
from Defendant's counsel and employee, as well as information about
the other tenants who applied for VRRP assistance. However, neither
Satisfies Plaintiff’s burden of proof. Defendant had previously,

on three separate occasions, provided information and
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documentation to DHCD in support of Plaintiff's other VRRP
applications. If race and color were but-for causes of Defendant
failing to provide DHCD with the necessary materials for the May
2022 VRRP application, Plaintiff does not explain why Defendant
would have provided the materials for the prior three applications.
Even more importantly, Defendant has a legitimate, non-
discriminatory reason for not supplying the landlord application
materials in support of Plaintiff’s application—it never received
a request to provide those materials from DHCD. As Plaintiff has
not met the high burden of proving that race and color were but-
for causes of his injury, the § 1981 discrimination claim must be
dismissed.

As for the intentional discrimination claim under the Fair
Housing Act, several courts have determined that the but-for
standard used in Comcast does not extend to Fair Housing Act

discrimination claims. See Gilead Comm. Servs., Inc. v. Town of

Cromwell, 604 F. Supp. 3d 1, 16-17 (D. Conn. 2022). Instead, under
the Fair Housing Act, a plaintiff may bring either a disparate-
treatment claim, where a plaintif£f must establish that the
defendant had a discriminatory intent or Motive, and/or a
disparate-impact claim, which challenges practices that have a
disproportionately adverse effect on minorities and are otherwise

unjustified by a legitimate rationale. Texas Dep’t of Hous. & Cmty.

Affs. v. Inclusive Communities Project, Inc., 576 U.S. 519, 524

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(2015) (quoting Ricci v. DeStefano, 557 U.S. 557, 577 (2009)).

Plaintiff brings his claim for racial discrimination only under

the disparate-treatment theory.

Under McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-04

(1973), the three steps for establishing a discrimination claim

are: (1) a plaintiff must first prove a prima facie case of

discrimination by preponderance of the evidence; (2) a defendant
then has the opportunity to present a legitimate, non-
discriminatory reason for the action; and (3) if defendant presents
a legitimate, non-discriminatory reason, the burden shifts back to
the plaintiff, who must proffer evidence that the legitimate, non-
discriminatory reason proffered was merely a pretext for

discrimination. See Pinchback v. Armistead Homes Corp., 907 F.2d

1447, 1451 (4th Cir. 1990) (applying the McDonnell Douglas

framework to fair housing claims). As noted above, Defendant
provides a legitimate, non-discriminatory reason for not providing
the landlord materials in support of Plaintiff's May 2022 VRRP
application, which is that Defendant never received a request to
provide those materials. In fact, Defendant was told that there
was nothing that it needed to submit after proactively calling
DHCD to check on whether information was needed for Plaintiff's
application. Conversely, Plaintiff does not proffer evidence
sufficient to carry his burden of proving that this reason for not

providing the materials to DHCD was merely pretext. Even taking

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the accusation of the use of racial slurs by Defendant's counsel
and employee as true, it does not overcome the fact that Defendant
never received a request for information from DHCD. Accordingly,
the discrimination claim under the Fair Housing Act must be
dismissed.

Plaintiff further asserts that Defendant breached the lease
agreement by failing to provide materials to DHCD in support of
Plaintiff's May 2022 VRRP application. Plaintiff points to a
provision in the lease agreement that requires Defendant to comply
with applicable federal, state, and local laws regarding safety,
sanitation, and fair housing. Plaintiff cites the Act that created
VRRP, which states that “[i]£ the tenant has applied for rental
assistance, the landlord shall cooperate with the tenant’s
application, by providing all information and documentation
required to complete the application . .. .” 2021 Va. Acts Special
Session II Chapter 1 § 16(a) (2). However, as evidenced by the lack
of request for information from DHCD both in Defendant’s VRRP
Landlord Portal and during Defendant’s call to VRRP, information
and documentation was not required by DHCD from Defendant to
complete Plaintiff's May 2022 VRRP application. Accordingly,
Defendant was not in violation of the state law. Furthermore,

Plaintiff has not been able to provide any other fair housing laws

that Defendant violated.

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Plaintiff also claims that Defendant breached the lease
agreement by failing to accept Plaintiff's offer to pay all unpaid
rent to Defendant through the Loudoun County General District
Court. As the Virginia Supreme Court has instructed, the first
party to materially breach the contract cannot enforce the

contract. See Horton v. Horton, 254 Va. 111, 115 (1997). By the

time Plaintiff offered to pay the remaining balance of rent in
April 2023, Plaintiff had already breached the lease agreement by
failing to pay rent since May 2022. As Plaintiff had already
materially breached the lease agreement, he cannot then seek to
enforce the contract for failure to accept the unpaid rent.
Furthermore, the lease agreement prescribed the accepted manners
of paying rent, none of which included paying using a court as an
intermediary. The conclusion that Defendant did not breach the
lease agreement is consistent with the decisions of the Loudoun
County General District Court, which awarded Defendant possession
of the premises and a judgment against Plaintiff. Therefore, the
breach of contract claim must be dismissed.

Plaintiff’s retaliation claim brought under § 1981 similarly

fails. To make a prima facie claim for retaliation under § 1981,

a plaintiff must demonstrate that (1) he engaged in protected
activity; (2) he suffered an adverse action by the defendant; and
(3) the defendant took the adverse action because of the protected

activity. Spriggs v. Diamond Auto Glass, 242 F.3d 179, 190 (4th

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Cir. 2001). As to the third element, “a plaintiff must allege facts
rendering it plausible that, but for her participation in protected
activity, she would not have suffered a materially adverse action.”

Ali v. BC Architects Eng’rs, PLC, 832 F. App’x 167, 172-73 (4th

Cir. 2020).

Plaintiff claims his complaint made to the FHEO in December
2022 constitutes his protected activity. Plaintiff argues that
Defendant issued the Notice of Nonrenewal of Tenancy and
Termination of Lease in January 2023 and refiled the unlawful
detainer proceeding in February 2023 in retaliation for that
action. However, Plaintiff fails to satisfy the but-for test
required for both adverse actions. The decisions to not renew
Plaintiff's lease and bring an unlawful detainer action appear to
have been made before the protected activity occurred. Initially,
Defendant declined to renew Plaintiff's lease when he requested it
be renewed in November 2022. Similarly, Defendant issued the Notice
to Pay Rent or Quit in July 2022 and brought an unlawful detainer
action in October 2022. While that case was nonsuited due to the
failure to serve Plaintiff with all required notices, the decision
to bring the action against Plaintiff was clearly made before
December 2022. Since both decisions were made before December 2022,
Plaintiff cannot prove that the FHEO report was the but-for cause
of those actions by Defendant. Accordingly, the retaliation claim

under § 1981 must be dismissed.

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Lastly, Plaintiff’s Motion for Partial Summary Judgment
raises several arguments and theories of liability that are not
included in the Amended Complaint. However, “a plaintiff may not
raise new claims after discovery has begun without amending his

complaint.” Wahi v. Charleston Area Med. Ctr., Inc., 562 F.3d 599,

617 (4th Cir. 2009). These new arguments and theories include
Plaintiff having a right of redemption that was violated by the
eviction, Defendant creating a hostile housing environment in
violation of 42 U.S.C. § 3604(b), and Defendant discriminating
against Plaintiff by serving a Five-Day Notice to Pay Rent or Quit
rather than a Fourteen-Day Notice. As these arguments and theories
were not raised in the Amended Complaint, and Plaintiff has made
no attempt to amend the Amended Complaint to include them, these
arguments and theories need not be considered.

For the foregoing reasons, Defendant’s Motion for Summary
Judgment should be GRANTED, and Plaintiff's Motion for Partial
Summary Judgment should be DENIED.

An appropriate Order shall issue.

CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
December / , 2023

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